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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :       Case No.: 21-cr-214 (JDB)
          v.                                 :
                                             :
JOSEPH LINO PADILLA,                         :
Also known as “Jose Padilla”,                :
                                             :
                                             :
                      Defendant.             :


                                 NOTICE OF APPEARANCE

       The United States of America, through undersigned counsel, hereby informs the Court

that Assistant United States Attorney Andrew Haag is entering his appearance in the above-

captioned matter as counsel for the United States.

                                                     Respectfully submitted,

DATED: February 15, 2023                             MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052


                                             By:     /s/ Andrew Haag
                                                     Andrew Haag
                                                     Assistant United States Attorney
                                                     Massachusetts Bar No. 705425
                                                     601 D Street NW, Washington, DC 20530
                                                     (202) 252-7755
                                                     Andrew.Haag@usdoj.gov
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                               CERTIFICATE OF SERVICE

        On this 15th day of February 2023, a copy of the foregoing was served upon all parties
listed on the Electronic Case Filing (ECF) System.

                                                  /s/ Andrew Haag
                                                  Andrew Haag
                                                  Assistant United States Attorney




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